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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Hadi Abuatelah
                             Plaintiff,
v.                                                 Case No.: 1:22−cv−03998
                                                   Honorable Georgia N Alexakis
Officer One, et al.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 26, 2025:


        MINUTE entry before the Honorable Georgia N Alexakis: The Court has reviewed
the parties' joint status report, which proposes an agreed−upon discovery schedule [104].
This case is referred to the assigned Magistrate Judge for all discovery scheduling and
supervision, including the authority to set, adjust, and extend all discovery−related
deadlines. The referral also includes the authority to conduct a settlement conference, as
necessary. The Court will set a dispositive motion schedule after all discovery is
completed. (ca, )




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